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                      UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                   DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER INTERESTS

         Only one form needs to be completed for a party even if the party is represented by more than
         one attorney.    Disclosures must be filed on behalf of all parties to a civil, agency, bankruptcy or
         mandamus case. Corporate defendants in a criminal or post-conviction case and corporate amici
         curiae are required to file disclosure statements.          Counsel has a continuing duty to update this
         information.

         No.   24-2188         Caption:     Whittington v. Shenandoah County DSS, et al

         Pursuant to FRAP 26.1 and Local Rule 26.1,

         Stephanie Cool-Danner            who
                                          who js
                                              is           appellee              5 makes the following disclosure:

         (name of party/amicus)                     (appellant/appellee/amicus)

         1.        Is party/amicus a publicly held corporation or other publicly held entity? |           | YESp^NO
         2.        Does party/amicus have any parent corporations?                                |       | YES [~|NQ
                   If yes, identify all parent corporations, including grandparent and great-grandparent
                   corporations:


         3.        Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                   other publicly held entity?                                                    [| YES p7] NO
                   If yes, identify all such owners:


         4.        Is there any other publicly held corporation or other publicly held entity that has a direct
                   financial interest in the outcome of the litigation (Local Rule 26.1(b))?          YES0NO
                   If yes, identify entity and nature of interest:


         5.        Is party a trade association? (amici curiae do not complete this question)     |       | YES [~|NQ
                   If yes, identify any publicly held member whose stock or equity value could be affected
                   substantially by the outcome of the proceeding or whose claims the trade association is
                   pursuing in a representative capacity, or state that there is no such member:


         6.        Does this case arise out of a bankruptcy proceeding?                               I   lYES 0NO
                   If yes, identify any trustee and the members of any creditors’ committee:


                                           CERTIFICATE OF SERVICE
                                                **************************


         I certify that on         12-16-2024       the foregoing document was served on all parties or their
         counsel of record through the CM/ECF system if they are registered users or, if they are not, by
         serving a true and correct copy at the addresses listed below:


         Megan Whittington
         120 Hottel Road
         Woodstock, VA 22664




               /      (signature)                                                               (date)
